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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                          CASE NO. 23-80101-CR-CANNON(s)

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

         Defendants.
   ________________________________/




               GOVERNMENT’S OPPOSITION TO DONALD J. TRUMP’S
                        MOTION TO DISMISS BASED ON
            THE APPOINTMENT AND FUNDING OF THE SPECIAL COUNSEL
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          Defendant Donald Trump argues (ECF No. 326) that the Special Counsel lacks the legal

   authority to prosecute this case and the lawful funding to carry out any prosecution. Each argument

   is incorrect, and neither supports dismissal of the charges that were properly returned by a grand

   jury in this District. The Supreme Court recognized in closely analogous circumstances nearly 50

   years ago, in United States v. Nixon, 418 U.S. 683, 694 (1974), that the Attorney General has the

   statutory authority to appoint a Special Prosecutor. And Trump’s funding argument is equally

   unsound. The Special Counsel’s investigation is lawfully funded through an appropriation that has

   been used repeatedly to pay similar special and independent counsels, and the lawfulness of this

   practice is confirmed by statutory text, history, and longstanding practice (including funding for a

   special counsel appointed during Trump’s administration). Trump’s attack on the source of

   funding would, in any event, provide no basis to dismiss the Superseding Indictment. The Court

   should deny Trump’s motion.

          I.      Background

          The Constitution’s Appointments Clause permits Congress “by Law” to vest the

   appointment of “inferior Officers” in the “Head[] of [a] Department.” U.S. Const. art. II, § 2, cl. 2.

   The Attorney General is the head of the Department of Justice and has exclusive authority (except

   as otherwise provided by law) to direct “the conduct of litigation” on behalf of the United States.

   28 U.S.C. §§ 503, 516. Congress has “vested” in the Attorney General virtually “[a]ll functions

   of other officers of the Department of Justice,” id. § 509, and empowered him to authorize other

   Departmental officials to perform his functions, id. § 510. Congress has also authorized the

   Attorney General to commission attorneys “specially retained under authority of the Department

   of Justice” as “special assistant[s] to the Attorney General or special attorney[s]” and provided that

   “any attorney specially appointed by the Attorney General under law, may, when specifically



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   directed by the Attorney General, conduct any kind of legal proceeding, civil or criminal . . . which

   United States attorneys are authorized by law to conduct.” Id. § 515(a) & (b). Congress has also

   provided for the Attorney General to “appoint officials . . . to detect and prosecute crimes against

   the United States.” Id. § 533(1). These statutes authorize Attorneys General to appoint special

   counsels and define their duties. See, e.g., United States v. Nixon, 418 U.S. 683, 694 (1974).

          The Attorney General has issued a regulation providing an internal framework for certain

   special-counsel appointments. 28 C.F.R. §§ 600.1-600.10 (1999); see also 5 U.S.C. § 301

   (authorizing the head of a department to issue regulations “for the government of his department”

   and “the distribution and performance of its business”); Office of Special Counsel, 64 Fed. Reg.

   37,038 (July 9, 1999). The Special Counsel regulation “replace[d],” id., the Independent Counsel

   regime formerly provided for in Title IV of the Ethics in Government Act, 28 U.S.C. §§ 591-599

   (expired); see Morrison v. Olson, 487 U.S. 654 (1988). The Ethics in Government Act had required

   the Attorney General in certain cases to ask a court to appoint an independent counsel, who then

   operated with significant statutory freedom from Department of Justice supervision. The Special

   Counsel regulation, by contrast, provides for a wholly Executive Branch procedure for appointing

   a special counsel, who exercises discretion “within the context of established procedures of the

   Department,” with “ultimate responsibility for the matter and how it is handled . . . continu[ing]

   to rest with the Attorney General.” Office of Special Counsel, 64 Fed. Reg. at 37,038. The

   regulation seeks “to strike a balance between independence and accountability in certain sensitive

   investigations.” Id.

          On November 18, 2022, the Attorney General issued an order appointing John L. Smith as

   Special Counsel “to conduct the ongoing investigation referenced and described in the United

   States’ Response to Motion for Judicial Oversight and Additional Relief, Donald J. Trump v.



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   United States, No. 9:22-CV-81294-AMC (S.D. Fla. Aug. 30, 2022).” Office of the Att’y Gen.,

   Order No. 5559-2022, Appointment of John L. Smith as Special Counsel, ¶ (c) Nov. 18, 2022

   (“Appointment Order”). The Appointment Order also authorized the Special Counsel “to conduct

   the ongoing investigation into whether any person or entity violated the law in connection with

   efforts to interfere with the lawful transfer of power following the 2020 presidential election or the

   certification of the Electoral College vote held on or about January 6, 2021.” Id. ¶ (b). Relying

   on “the authority vested in the Attorney General, including 28 U.S.C. §§ 509, 510, 515, and 533,”

   the Attorney General ordered the appointment of a Special Counsel “in order to discharge [the

   Attorney General’s] responsibility to provide supervision and management of the Department of

   Justice, and to ensure a full and thorough investigation of” the matters for which he appointed the

   Special Counsel. Id. (introduction). The Attorney General made applicable to the Special Counsel

   “Sections 600.4 through 600.10 of Title 28 of the Code of Federal Regulations.” Id. ¶ (e).

          Consistent with prior practice, the Department of Justice has funded the Special Counsel

   through a “permanent indefinite appropriation” that Congress enacted in 1987 to “pay all necessary

   expenses of investigations and prosecutions by independent counsel appointed pursuant to the

   provisions of 28 U.S.C. 591 et seq. or other law.” Pub. L. No. 100-202, § 101(a) (Title II), 101

   Stat. 1329, 1329-9 (1987) (28 U.S.C. § 591 note); see U.S. Dep’t of Justice, Special Counsel’s

   Office-Smith, Statement of Expenditures: April 1, 2023 through September 30, 2023, at 4 (noting

   that funding for the Special Counsel Office came from this appropriation). The permanent

   appropriation ensured that outside, independent counsel could continue to carry out sensitive

   investigations even as the statutory Independent Counsel under the Ethics in Government Act faced

   “legal challenges.” Government Accountability Office (“GAO”), Special Counsel and Permanent

   Indefinite Appropriation, B-302582, 2004 WL 2213560, at *3 (Comp. Gen. Sept. 30, 2004).



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          II.     Argument

          The Special Counsel has the legal authority to prosecute this case. First, his appointment

   is consistent with the Appointments Clause, which provides that Congress may by law provide for

   the Head of a Department to appoint an “inferior Officer.” U.S. Const. art. II, § 2, cl. 2. Congress

   has provided “by law” for the Special Counsel’s appointment. Precedent establishes that the

   Attorney General has statutory authority to appoint the Special Counsel. See United States v.

   Nixon, 418 U.S. 683, 694 (1974) (holding that 28 U.S.C. §§ 515 and 533 authorized the

   appointment of a special prosecutor comparable to the Special Counsel); see also In re Sealed

   Case, 829 F.2d 50, 55 (D.C. Cir. 1987) (finding appointment authority for Independent Counsel);

   In re Grand Jury Investigation, 916 F.3d 1047, 1053-54 (D.C. Cir. 2019) (finding that Nixon and

   In re Sealed Case supported Special Counsel Robert Mueller’s appointment). Specifically, the text

   and history of Sections 515 and 533 confirm that they confer appointment authority. Section

   515(b) empowers the Attorney General to commission attorneys who are “specially retained under

   authority of the Department of Justice” as “special assistant to the Attorney General or special

   attorney.” 28 U.S.C. § 515(b). Section 533 confirms that “[t]he Attorney General may appoint

   officials . . . to detect and prosecute crimes against the United States.” 28 U.S.C. § 533. Attorneys

   General have long used these powers to appoint special attorneys with responsibilities like the

   Special Counsel’s, with consistent support from Congress, the Executive Branch, and the courts.

          Second, the Special Counsel receives funding from the correct appropriation. The plain

   text of the permanent appropriation covers the Special Counsel’s appointment.                   That

   appropriation’s history and the longstanding practice of funding similar independent and special

   counsels under it confirm its applicability here. But even if Trump were correct that the funding




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   should come from some other source—and he is not—he would not be entitled to a dismissal of

   the Superseding Indictment.

          A.      The Attorney General Has Statutory Authority to Appoint the Special Counsel

          The Appointments Clause specifies how federal officers are appointed:

          [The President] shall nominate, and by and with the Advice and Consent of the
          Senate, shall appoint Ambassadors, other public Ministers and Consuls, Judges of
          the supreme Court, and all other Officers of the United States, whose Appointments
          are not herein otherwise provided for, and which shall be established by Law: but
          the Congress may by Law vest the Appointment of such inferior Officers, as they
          think proper, in the President alone, in the Courts of Law, or in the Heads of
          Departments.

   U.S. Const. art. II, § 2, cl. 2. The Clause thus distinguishes between principal officers and “inferior

   Officers.” By default, all officers must be nominated by the President and confirmed by the Senate.

   But Congress may “vest” the power to appoint “inferior Officers” in the President alone, courts,

   or a “Head[] of Department[].” The Government does not dispute that the Special Counsel is an

   officer and the Appointments Clause applies.1 See Lucia v. SEC, 585 U.S. 237, 245 (2018) (officers




          1
             In contradictory claims, Trump asserts on the one hand (ECF No. 326 at 2-3) that the
   Senate was required to provide its “Advice and Consent” before the Special Counsel could be
   appointed, and yet on the other hand (id. at 3) that the Special Counsel is “not an ‘Officer’” but
   rather “at best . . . an employee.” But if the Special Counsel were not an officer, then the
   Appointments Clause—which, in relevant part, addresses the appointment of officers—would
   have no application at all. The Appointments Clause does apply because the Special Counsel is
   an “inferior Officer[],” whose appointment Congress may “by Law” vest in a principal officer such
   as the Attorney General. U.S. Const. art. II, § 2. Trump nowhere argues—and therefore has not
   preserved any claim—that the Special Counsel is a principal officer. In any event, such a claim
   would fail because Supreme Court precedent establishes that an “officer”—one who exercises
   significant authority under the laws of the United States—is “inferior” if he is subject to direction
   and supervision at some level by presidentially-appointed and Senate-confirmed officers. Edmond
   v. United States, 520 U.S. 651, 662-63 (1997). As courts have recognized, the factors distilled
   from Edmond to assess whether an officer is “inferior”—degree of oversight, removability, and
   decision-making authority—support the conclusion that the Special Counsel is an inferior officer.
   See In re Grand Jury Investigation, 916 F.3d at 1052-53; see also Intercollegiate Broad. Sys., Inc.
   v. Copyright Royalty Bd., 684 F.3d 1332, 1338-40 (D.C. Cir. 2012).

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   are those who “exercise[] significant authority pursuant to the laws of the United States”) (quoting

   Buckley v. Valeo, 424 U.S. 1, 126 (1976) (per curiam)).

          Trump contends (ECF No. 326 at 3-7) that the Attorney General lacks statutory power to

   appoint the Special Counsel, as the Appointments Clause requires. But the Supreme Court in

   Nixon, 418 U.S. 683, and the D.C. Circuit in In re Sealed Case, 829 F.2d 50, each held that the

   Attorney General has statutory authority to appoint a special counsel and delegate prosecutorial

   authority to him. The D.C Circuit recognized precisely that conclusion when holding that the

   Acting Attorney General had the statutory authority to appoint Special Counsel Mueller. In re

   Grand Jury Investigation, 916 F.3d at 1053-54. Those decisions foreclose Trump’s challenge to

   the statutory authority for the appointment here, and for good reason: 28 U.S.C. §§ 515(b) and 533

   provide the relevant appointment authority, as text, history, and practice confirm.

                  1.      Precedent establishes the Attorney General’s appointment authority

        In Nixon, the Attorney General appointed a special prosecutor to investigate and prosecute

   offenses arising from the 1972 presidential election, empowering the prosecutor through an

   expansive regulation. 418 U.S. at 694 & n.8. Acting under that regulation, the special prosecutor

   issued a subpoena to the President for the production of evidence, and the district court denied a

   motion to quash. Id. at 687-88. In the Supreme Court, President Nixon contended that the case

   was not justiciable because it constituted only an “intra-branch dispute” over evidence to be used

   in a prosecution, in which the President’s decision was “final.” Id. at 692-93. The Supreme Court

   rejected that contention, explaining that the special prosecutor acted pursuant to a proper

   delegation of the Attorney General’s authority:

          Congress has vested in the Attorney General the power to conduct the criminal
          litigation of the United States Government. 28 U.S.C. § 516. It has also vested in
          him the power to appoint subordinate officers to assist him in the discharge of his
          duties. 28 U.S.C. §§ 509, 510, 515, 533. Acting pursuant to those statutes, the


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          Attorney General has delegated the authority to represent the United States in these
          particular matters to a Special Prosecutor with unique authority and tenure.

   Id. at 694 (emphasis added). The Court held that, as long as the regulation delegating power to the

   special prosecutor remained in place, it bound the entire Executive Branch and required rejection

   of the President’s argument that he could override the special prosecutor’s determination to seek

   evidence through the subpoena. Id. at 695-96.

          In an effort to escape the force of this holding, Trump asserts (ECF No. 326 at 6-7) that

   Nixon’s discussion of the statutory provisions authorizing the delegation of power to the special

   prosecutor was dicta. That is incorrect. Nixon focused on the Attorney General’s appointment

   power because the special prosecutor could not assert the Attorney General’s authority “to conduct

   the criminal litigation of the United States Government” unless the prosecutor had been properly

   appointed. 418 U.S. at 694. If the Attorney General lacked authority to appoint a special

   prosecutor, the regulation empowering that prosecutor to represent the sovereign interests of the

   United States in litigation would have lacked force.           Finding statutory authority for the

   appointment was thus central to the Court’s conclusion that “[s]o long as this regulation [conferring

   authority on the special prosecutor] is extant it has the force of law.” Id. at 695.

          Trump relatedly suggests that Nixon is not binding because it merely assumed that the

   relevant appointment authority existed. But Nixon did not rest on an unstated assumption: it

   “expressly address[ed]” the statutory authority for the special prosecutor’s appointment. See

   United States v. Verdugo-Urquidez, 494 U.S. 259, 272 (1990). Although President Nixon did not

   contest that statutory analysis, the Court’s recognition of the Attorney General’s appointment

   authority reflected its independent judgment and formed a necessary element of its holding.

          In In re Sealed Case, the D.C. Circuit reached the same conclusion about the Attorney

   General’s statutory authority. 829 F.2d at 55; see id. at 55 n.30 (relying on Nixon, 418 U.S. at 694-

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   96). There, the Attorney General appointed independent counsel Lawrence Walsh to investigate

   Iran/Contra under 5 U.S.C. § 301 and 28 U.S.C. §§ 509, 510, and 515. See 829 F.2d at 52-53.

   Oliver North challenged a subpoena issued by the independent counsel’s grand jury, arguing that

   the Attorney General’s delegation was not “lawful.” Id. at 55. The D.C. Circuit disagreed, finding

   clear authority to create an independent counsel:

          We have no difficulty concluding that the Attorney General possessed the statutory
          authority to create the Office of Independent Counsel: Iran/Contra and to convey to
          it the “investigative and prosecutorial functions and powers” described in 28 C.F.R.
          § 600.1(a) of the regulation. The statutory provisions relied upon by the Attorney
          General in promulgating the regulation are 5 U.S.C. § 301 and 28 U.S.C. §§ 509,
          510, and 515.

   Id. While noting that the provisions do not “explicitly authorize the Attorney General to create an

   Office of Independent Counsel virtually free of ongoing supervision,” the Court “read them as

   accommodating the delegation at issue here.” Id. In finding the power to “create” the independent

   counsel’s office, In re Sealed Case necessarily found authority to “appoint” an independent

   counsel. See id. at 56 (“The Attorney General’s power of appointment extends only to the

   Department of Justice; hence the Office of Independent Counsel: Iran/Contra is ‘within’ the

   Department, though free of ongoing supervision by the Attorney General.”).

          As the D.C. Circuit more recently concluded, see In re Grand Jury Investigation, 916 F.3d

   at 1052-53, Nixon and the reasoning in In re Sealed Case determine the outcome here. Those cases

   hold that 28 U.S.C. §§ 509, 510, 515, and 533 give the Attorney General the authority to appoint

   and delegate criminal law enforcement functions in particular matters to a special counsel. Here,

   the Attorney General exercised that statutory authority to appoint the Special Counsel, whose

   mandate is, for these purposes, indistinguishable from those approved in Nixon, In re Sealed Case,

   and In re Grand Jury Investigation.




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                  2.      Multiple statutes establish the Attorney General’s authority

                          a.      Statutory text grants the Attorney General power to appoint a
                                  special counsel

          The plain text of two statutes, 18 U.S.C. §§ 515 and 533, empowers the Attorney General

   to appoint special counsels. And the Attorney General relied on both statutes when appointing the

   Special Counsel here. Appointment Order ¶ (introduction).

          Section 515 gives the Attorney General authority to appoint “special attorneys” like the

   Special Counsel. Section 515(b) empowers the Attorney General to “commission[]” attorneys who

   are “specially retained under authority of the Department of Justice” as “special assistant[s] to the

   Attorney General” or “special attorney[s].” 28 U.S.C. § 515(b). “[S]pecially retained under

   authority of the Department of Justice” necessarily means specially retained by the Attorney

   General, who is head of the Department of Justice and vested with all of its functions and powers.

   See 28 U.S.C. §§ 503, 509. Further, a commission is the “warrant or authority . . . issuing from

   the government . . . empowering a person or persons named to do certain acts, or to exercise

   jurisdiction, or to perform the duties and exercise the authority of an office.” H. Campbell Black,

   A Dictionary of Law 226 (1st ed. 1891); see also Black’s Law Dictionary 327 (10th ed. 2014)

   (similar); Dep’t of Transp. v. Ass’n of Am. R.R., 575 U.S. 43, 58 (2015) (Alito, J., concurring) (“to

   be an officer, the person should have sworn an oath and possess a commission”). As Marbury v.

   Madison, 5 U.S. (1 Cranch) 137, 157 (1803), recognized, “the constitutional power of appointment

   has been exercised . . . when the last act, required from the person possessing the power, has been

   performed. This last act is the signature of the commission.” Section 515(b) thus allows the

   Attorney General to appoint special attorneys by retaining them and commissioning them to vest

   them with authority.




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          Section 515(a) further recognizes that the Attorney General can “specially appoint[]”

   attorneys “under law” and empower them to exercise, “when specifically directed by the Attorney

   General,” all criminal (and civil) powers possessed by United States Attorneys. 28 U.S.C.

   § 515(a). Congress thus specified not only that the Attorney General could appoint special

   attorneys under law, but also that he could give special attorneys extensive powers. Trump

   provides no authority for his assertion (ECF No. 326 at 4) that the phrase “under law” requires that

   the attorney in question must have been appointed “pursuant to other statutory provisions.”

          Authority for the Attorney General’s appointment power also comes from Section 533.

   Section 533 specifically confirms that “[t]he Attorney General may appoint officials—(1) to detect

   and prosecute crimes against the United States.” 28 U.S.C. § 533. This description aligns perfectly

   with a Special Counsel, who combines the typical roles of law enforcement and prosecutors by

   both investigating and prosecuting crimes. See 28 C.F.R. § 600.1. In Edmond, the Supreme Court

   located the power to appoint Coast Guard judges—who were “inferior Officers”—in a “default

   statute” that allowed the Secretary of Transportation to “appoint and fix the pay of officers and

   employees of the Department of Transportation.” 520 U.S. at 656-58, 666 (quoting 49 U.S.C.

   § 323(a)). Section 533 is far more specific.

          Trump offers two counterarguments. First, he objects (ECF No. 326 at 5-6) that Section

   533 refers to appointing “officials”—not “officers”—which can refer to a “mere employee,

   functionary, or agent.” See United States v. Concord Mgmt. & Consulting LLC, 317 F. Supp. 3d

   598, 619 (D.D.C. 2018). As noted, see supra n.1, Trump’s argument on this point is inconsistent

   with his claim that the Special Counsel is an employee, not an officer. But, in any event, “official”

   is a term that naturally encompasses officers. The Supreme Court’s Lucia opinion illustrates that

   point by stating that “[t]he Appointments Clause of the Constitution lays out the permissible



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   methods of appointing ‘Officers of the United States,’ a class of government officials distinct from

   mere employees.” 585 U.S. at 241 (emphasis added). Many other cases employ the same usage

   of “official.” See, e.g., Ortiz v. United States, 585 U.S. 427, 452-53 (2018); Morrison, 487 U.S. at

   672; Buckley, 424 U.S. at 131; United States v Eaton, 169 U.S. 331, 343-44 (1898). And

   interpreting “officials” in Section 533 to include officers does not contradict Congress’s use of the

   term “officer” in other statutes. Cf. Concord, 317 F. Supp. 3d at 619. Rather, as Lucia suggests,

   “official” is a generic term that covers both officers and employees. See In re Grand Jury

   Investigation, 315 F. Supp. 3d 602, 644 (D.D.C. 2018); see also, e.g., 18 U.S.C. § 201(a)(1)

   (“public official” includes “an officer or employee or person acting for or on behalf of the United

   States”).

           Second, Trump emphasizes (ECF No. 326 at 5-6) Section 533’s placement in a chapter

   titled “Federal Bureau of Investigation.” But “the title of a statute cannot limit the plain meaning

   of the text” and matters “[f]or interpretive purposes” “only when it sheds light on some ambiguous

   word or phrase.” Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 212 (1998) (brackets, ellipsis, and

   alterations omitted). And there is no textual hint that Section 533(1) is limited to FBI officials. To

   the contrary, Section 533(1) allows the appointment of officials “to detect and prosecute crimes”;

   and “only attorneys prosecute crime.” In re Grand Jury Investigation, 315 F. Supp. 3d at 652-53;

   see also, e.g., 28 U.S.C. § 547(1) (U.S. Attorney shall “prosecute for all offenses against the United

   States” in his or her district).

           Trump further argues (ECF No. 326 at 6) that subsections (2) through (4) of Section 533

   suggest that Section 533(1) covers only FBI officials. Those subsections allow the appointment

   of officials to (2) protect the President, (3) protect the Attorney General, and (4) conduct other

   investigations on official matters. But like subsection (1), the other subsections give no indication



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   that they are limited to the FBI. Indeed, district courts have read Section 533 to allow appointment

   of Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) officials. See United States v.

   Hasan, 846 F. Supp. 2d 541, 546 n.7 (E.D. Va. 2012); United States v. Fortuna, No. 12-cr-636,

   2013 WL 1737215, at *2 n.8 (D.N.J. Apr. 22, 2013). But if Section 533 allows the appointment

   of ATF officials, it clearly is not limited to FBI officials, and Trump’s efforts to cabin the

   unambiguous text of Section 533(1) fail.

                          b.     Section 515’s history confirms that it provides appointment
                                 power

          The history of Section 515 removes any question that it authorizes the Attorney General to

   appoint special attorneys such as the Special Counsel. Another court has described the statutory

   history in detail. See In re Grand Jury Investigation, 315 F. Supp. 3d at 612-17, 654-58. For

   present purposes, that history establishes four significant propositions that undermine Trump’s

   arguments.

          First, although Title 28 of the U.S. Code now groups Section 515(a) and (b) together,

   Congress originally enacted their predecessors decades apart, in separate laws. The precursor to

   Section 515(b) came first, enacted in 1870 in the statute that created the Department of Justice.

   See An Act to establish the Department of Justice, ch. 150, § 17, 16 Stat. 162, 164-165 (1870).

   The 1870 Act centralized the federal government’s legal work in the Department of Justice and—

   in response to abuses in the hiring of outside counsel as special attorneys—limited the

   circumstances in which the Attorney General could pay them. Id. §§ 3, 17, 16 Stat. at 162, 164-

   165; see In re Persico, 522 F.2d 41, 57-58 (2d Cir. 1975). As the Supreme Court later explained,

   however, the 1870 Act limited the Attorney General’s discretion to retain special attorneys by

   restricting their compensation, while leaving it to the Attorney General “to determine whether the

   public interests required the employment of special counsel.” United States v. Crosthwaite, 168


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   U.S. 375, 379-80 (1897); see also United States v. Winston, 170 U.S. 522, 524-25 (1898) (the

   Attorney General may, “if he deems it essential, employ special counsel”).

          Second, the statute now codified as Section 515(a) was enacted in 1906, in order to validate

   a special counsel’s authority to conduct grand jury proceedings, after the district court in United

   States v. Rosenthal, 121 F. 862 (C.C.S.D.N.Y. 1903), ruled that a special assistant to the Attorney

   General could not do so. Congress responded with a law whose “express purpose . . . was to

   overrule the broad holding in Rosenthal,” explicitly giving “specially-retained outside counsel” all

   of the powers of a U.S. Attorney. In re Persico, 522 F.2d at 59. The House Report accompanying

   the 1906 Act explained that “[t]here can be no doubt of the advisability of permitting the Attorney-

   General to employ special counsel in special cases.” H.R. Rep. No. 2901, 59th Cong., 1st. Sess. 2

   (1906). The purpose of the new law was to overrule Rosenthal and restore a special counsel’s

   power to appear before the grand jury: “It seems eminently proper that such powers and authority

   be given by law. It has been the practice to do so in the past and it will be necessary that the

   practice shall continue in the future.” Id. The law would have had no effect if the Attorney General

   could not already retain special counsel—which would contradict the presumption that Congress

   intends an amendment “to have real and substantial effect.” Ross v. Blake, 578 U.S. 632, 641-42

   (2016) (internal quotation marks omitted).

          Third, subsequent enactments confirm the Attorney General’s appointment authority. In

   1930, Congress amended the precursor to Section 515(b) (then codified at 5 U.S.C. § 315) to allow

   the Attorney General to designate “special attorneys” in addition to “special assistants to the

   Attorney General.” See Act of Apr. 17, 1930, ch. 174, Pub. L. No. 71-133, 46 Stat. 170. Congress

   returned to the statute again in 1948, simplifying its wording. See Act of June 25, 1948, Pub. L.

   No. 80-773, § 3, 62 Stat. 869, 985-986. Despite the widespread use of special counsels before



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   these enactments (as described in the next paragraph), Congress never questioned the Attorney

   General’s power of appointment. To the contrary, the House Report accompanying the 1930

   amendment acknowledged that power. H.R. Rep. No. 229, 71st Cong., 2d. Sess. 1 (1930).

          Fourth, drawing on the authority to retain counsel originally conferred in 1870, past

   Attorneys General have “made extensive use of special attorneys.” In re Persico, 522 F.2d at 54.

   These instances—involving appointments by Attorneys General under Presidents Garfield,

   Theodore Roosevelt, Truman, Kennedy, Nixon, Carter, George H.W. Bush, Clinton, and Trump—

   span nearly 140 years and include some of the most notorious scandals in the Nation’s history,

   including Watergate. See, e.g., Brett M. Kavanaugh, The President and the Independent Counsel,

   86 Geo. L.J. 2133, 2142-44 (1998) (noting the “deeply rooted tradition of appointing an outside

   prosecutor to run particular federal investigations of executive branch officials”). Congress has

   also long demonstrated its understanding that the Attorney General has authority to appoint special

   counsels by repeatedly appropriating funds for the Attorney General to compensate them. See,

   e.g., Act of Aug. 30, 1890, ch. 837, 26 Stat. 371, 409-410; Act of Mar. 3, 1891, ch. 542, 26 Stat.

   948, 986; Act of Mar. 3, 1901, ch. 853, 31 Stat. 1133, 1181-1182; Act of Feb. 25, 1903, Pub. L.

   No. 57-115, 32 Stat. 854, 903-904; Act of Mar. 4, 1921, Pub. L. No. 66-389, 41 Stat. 1367, 1412;

   Act of June 3, 1948, Pub. L. 80-597, 62 Stat. 305, 317. And published opinions of the Attorney

   General, for more than a century, have recognized that authority. See Assignment of Army Lawyers

   to the Department of Justice, 10 Op. O.L.C. 115, 117 n.3 (1986); Application of Conflict of Interest

   Rules to the Conduct of Government Litigation by Private Attorneys, 4B Op. O.L.C. 434, 442-443

   & n.5 (1980) (Appendix); Naval Court-Martial, 18 Op. Att’y Gen. 135, 136 (1885). That history

   amply confirms the Attorney General’s authority to appoint the Special Counsel here.




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          B.      The Department of Justice Funded the Special Counsel’s Office from the
                  Correct Appropriation

          Trump next contends (ECF No. 326 at 7-12) that the Special Counsel is not lawfully

   funded. That contention lacks merit.

   III.   The text of the permanent appropriation applies here

          When paying the Special Counsel’s expenses, the Department of Justice has relied on a

   “permanent, indefinite appropriation . . . within the Department of Justice to pay all necessary

   expenses of investigations and prosecutions by independent counsel appointed pursuant to the

   provisions of 28 U.S.C. 591 et seq. or other law.” 101 Stat. 1329-9. The Special Counsel is an

   “independent counsel” as that term was used in the permanent appropriation, and he was

   “appointed pursuant to . . . other law.” Id.

          An “independent counsel” is “[a]n attorney hired to provide an unbiased opinion about a

   case or to conduct an impartial investigation.” Black’s Law Dictionary (11th ed. 2019). That is

   the role served by the Special Counsel here. The Special Counsel was retained from outside of the

   Department to “ensure a full and thorough investigation” of certain sensitive matters. Appointment

   Order ¶ (introduction); see 28 C.F.R. § 600.4. While he remains subject to Attorney General

   direction and supervision, he also retains “a substantial degree of independent decisionmaking,”

   Office of Special Counsel, 64 Fed. Reg. 37,038, 37,039-37,040 (July 9, 1999), and is not part of

   the regular Department chain of command or “subject to the day-to-day supervision of any official

   of the Department,” 28 C.F.R. § 600.7(b).

          The Special Counsel was also “appointed pursuant to the provisions of 28 U.S.C. 591 et

   seq. or other law.” 101 Stat. 1329-9 (emphasis added). While he was not appointed pursuant to

   28 U.S.C. 591 et seq. (Title VI of the Ethics in Government Act), the Special Counsel was

   appointed pursuant to statutory authorities that permit the Attorney General to retain special


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   attorneys to conduct investigations and prosecutions. See supra at 9-12 (discussing 28 U.S.C.

   §§ 515 and 533). By any definition, those statutes are “other law.” See In re Grand Jury

   Investigation, 916 F.3d at 1053-54 (holding that “Congress has ‘by law’ vested appointment” in

   the Attorney General through the statutes used to appoint Special Counsel Mueller). The Attorney

   General also applied the Special Counsel regulation (28 C.F.R. § 600), which, while in effect, has

   “the force of law.” Concord, 317 F. Supp. 3d at 608 (quoting Nixon, 418 U.S. at 695 (discussing

   Watergate Special Prosecutor regulation)).

          To the extent Trump’s recitation of the Ethics in Government Act’s history (ECF No. 326

   at 8) and his argument that the 1999 Special Counsel regulations “stripped prosecutorial

   independence” available under that Act (id. at 11) are meant to imply that the permanent

   appropriation is limited to an Independent Counsel appointed under the Ethics in Government Act

   or someone in the exact same role, he is wrong. The statutory text is not so limited. In fact, in the

   very same section, the statute refers both to a (capitalized) “Independent Counsel,” under the Ethics

   in Government Act and, in the permanent appropriation, to a (lowercase) “independent counsel.”

   101 Stat. 1329-9. This contemplates that the term “independent counsel” in the permanent

   appropriation refers to the generic category of independent investigators rather than the particular

   statutory Independent Counsel. See United States v. Stone, 394 F. Supp. 3d 1, 19-20 (D.D.C. 2019).

   It would also be anomalous to identify separately some “other law,” that is essentially “the same”

   as the law that appears right before it (i.e., the Ethics in Government Act) in the same sentence.

   An attorney can be independent in different ways. While the Special Counsel does not have the

   same level of independence as the statutory Independent Counsel, he was brought in from outside

   the Department, functions independently of many Department structures and chains of command,




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   is not subject to “day-to-day supervision,” 28 C.F.R. § 600.7(b), and is to be given deference by

   the Attorney General in supervising his work, see id.

                  1.      The permanent appropriation’s history alongside longstanding
                          practice confirms its applicability

          The history of the permanent appropriation removes any doubt that the Department

   correctly relies on it to fund the Special Counsel’s Office. That history shows that when passing

   the permanent appropriation, Congress contemplated a broader category of “independent counsel”

   than that created in the Ethics in Government Act, including attorneys whose formal independence

   was established only by regulation. The history also shows that Congress would have understood

   the phrase “other law” as including the same statutes that the Attorney General cited when

   appointing the Special Counsel here. And complementing that history is longstanding Department

   practice using the same appropriation for special counsels appointed under the same statutory

   authority relied on here—a practice to which Congress has acceded for years.

          For nearly 140 years, Attorneys General have used many of the same statutory authorities

   used to appoint the Special Counsel (and those statutes’ predecessors) to retain special attorneys

   for sensitive investigations. See, e.g., In re Persico, 522 F.2d at 54. These instances include some

   of the most infamous scandals in the Nation’s history. See supra at 14. For example, in 1973,

   President Nixon’s Attorneys General famously appointed Archibald Cox, and then Leon Jaworski,

   as special prosecutors for Watergate. U.S. Dep’t of Justice Order No. 518-73 (May 31, 1973)

   (appointing Cox); First Session on Special Prosecutor: Hearings before the S. Comm. on the

   Judiciary Pt. 2, 93rd Cong., 1st Sess., at 449-452 (1973) (testimony of Robert Bork). Many

   specially appointed attorneys derived independence from operating outside of the chain of

   command and from assurances made by Presidents and Attorneys General. The Watergate Special

   Prosecutors were also protected by Department of Justice regulations with certain removal


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   protections. See 38 Fed. Reg. 14,668 (June 4, 1973) (Cox); Nixon, 418 U.S. at 694-96, n.8-10

   (Jaworksi). Although the Attorney General could “amend or revoke [a] regulation defining the

   Special prosecutor’s authority,” “so long” as the regulation was “extant,” it had “the force of law”

   and the Department was “bound by it.” Nixon, 418 U.S. at 695-96.

          In 1978, in the wake of Watergate, Congress passed the Ethics in Government Act, Pub. L.

   No. 95-521, 92 Stat. 1867, establishing what was initially called the “Special Prosecutor” and later

   relabeled the “Independent Counsel.” Questions arose about the constitutionality of that statutory

   framework. By 1987, there was active litigation about these constitutional issues. See, e.g.,

   Morrison, 487 U.S. at 668 (describing the history of one such case). In response to challenges

   arising from the Iran-Contra investigation, the Attorney General executed a parallel appointment

   of statutory Independent Counsel Lawrence Walsh under 5 U.S.C. § 301 and 28 U.S.C. §§ 509,

   510, and 515, created a regulatory scheme, and described that parallel appointment as also

   establishing an “independent counsel.” Offices of Independent Counsel; General Powers and

   Establishment of Independent Counsel—Iran/Contra, 52 Fed. Reg. 7270 (Mar. 10, 1987) (codified

   at 28 C.F.R. pt. 600 (1988) (“General Powers Of Independent Counsel”) & pt. 601 (1988)

   (“Jurisdiction of the Independent Counsel: Iran/Contra”)); see also In re Sealed Case, 829 F.2d at

   51-52, 55-56. The Attorney General effected a similar appointment in 1987 of James McKay to

   investigate certain allegations of illicit lobbying and conflicts of interest. 28 C.F.R. § 602.1

   (“Jurisdiction of the Independent Counsel: In re Franklyn C. Nofziger”); see 52 Fed. Reg. 22,439

   (June 12, 1987); 52 Fed. Reg. 35,543-01 (Sept. 22, 1987); see also Implementation of the U.S.

   Dep’t of Justice’s Special Counsel Regulation, Hearing Before Subcomm. on Commercial &

   Admin. Law, of the H. Comm. on the Judic., 110th Cong., 2d Sess 9 (Feb. 26, 2008) (statement of

   Carol Elder Bruce) (noting that “the Department of Justice was urging existing Independent



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   Counsel” to have “‘parallel appointments”’ under the same “‘other law’ provision[s]” such as 28

   U.S.C. § 515 to “ensure the continuity of their investigations, when the Independent Counsel

   statute was under constitutional attack”).

          It was against this background that on December 22, 1987, Congress enacted the permanent

   appropriation “within the Department of Justice to pay all necessary expenses of investigations

   and prosecutions by independent counsel appointed pursuant to the provisions of 28 U.S.C. 591 et

   seq. or other law.” 101 Stat. 1329-9. At that time, the statutory Independent Counsel framework

   was under attack, and Congress could not assume either that the statute itself or the degree of

   independence it afforded would survive. But the Department of Justice was making parallel

   appointments under the same statutory authority used here, with independence protected by

   Department regulations. Against that background, Congress would have understood the terms

   “independent counsel” and “other law” as the Government understands them here, and would have

   intended that special attorneys appointed by the Attorney General and provided with certain

   independence could be funded from the permanent appropriation.

          The propriety of the use of the permanent appropriation to fund the Special Counsel is

   confirmed by longstanding Department practice.       See Stone, 394 F. Supp. 3d at 22. The

   Department has relied on the permanent appropriation to fund several special and independent

   counsels. See, e.g., Independent Counsel: In re Madison Guaranty Savings & Loan Association,

   59 Fed. Reg. 5321 (Feb. 4, 1994) (codified at 28 C.F.R. pts. 600 & 603) (appointing Robert Fiske

   to conduct initial investigation of Whitewater real estate transactions); GAO, Independent Counsel

   Expenditures for the Six Months Ended September 30, 1995 at 5 and n.2 (March 1996) (B-271128);

   Budget of the U.S. Government Fiscal Year 1996, Appx, at 637 (funding Fiske); Attorney General

   Order No. 2256-99 (Sept. 9, 1999) (appointing Jack Danforth to investigate a raid of the Branch



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   Davidian compound in Waco, Texas); GAO, Independent Counsel Expenditures for the Six Months

   Ended September 30, 1999, at 6 (March 2000) (funding Danforth); United States v. Libby, 429 F.

   Supp. 2d 27, 28-29, 41 (D.D.C. 2006) (describing appointment of Patrick Fitzgerald to investigate

   the leak of Valerie Plame’s identity as a covert CIA officer); GAO, Special Counsel and Permanent

   Indefinite Appropriation, B-302582 (Sept. 30, 2004) (funding Fitzgerald); Attorney General Order

   No. 4878-2020 (appointing John Durham to investigate intelligence or counter-intelligence

   activities directed at the 2016 presidential campaigns and the Trump administration); U.S. Dep’t

   of Justice, Special Counsel’s Office-Durham, Statement of Expenditures: April 1, 2022 through

   September 30, 2022, at 4 (noting that funding for Durham came from the permanent appropriation).

   Analyzing the funding for Fitzgerald’s appointment, the GAO, “an independent agency within the

   legislative branch” that serves Congress, Bowsher v. Merck & Co., 460 U.S. 824, 844 (1983),

   stated that it “agree[d] with the Department that the same statutory authorities that authorize the

   Attorney General (or Acting Attorney General) to delegate authority to a U.S. Attorney to

   investigate and prosecute high ranking government officials are ‘other law’ for the purposes of

   authorizing the Department to finance the investigation and prosecution from the permanent

   indefinite appropriation.” GAO, Special Counsel and Permanent Indefinite Appropriation, B-

   302582, 2004 WL 2213560, at *4 (Comp. Gen. Sept. 30, 2004).                 That history likewise

   demonstrates that “Congress was aware of, and not troubled by, the fact that the Department used

   the permanent appropriation to fund special counsel investigations.” Stone, 394 F.3d at 22 n.16.

                  2.      Trump’s claim would not support dismissal

          Trump’s funding arguments not only lack merit, but also would not justify dismissal of the

   Superseding Indictment that was properly returned by the grand jury. Although he suggests (ECF

   No. 326 at 10) that the permanent appropriation is “[n]ot [a]vailable” to fund the Special Counsel’s

   Office, he does not dispute that the Department of Justice was able to pay for the Special Counsel’s
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   expenses and could have drawn on other appropriations to do so. See generally 28 C.F.R.

   § 600.8(a)(1) (“A Special Counsel shall be provided all appropriate resources by the Department

   of Justice.”). Trump’s argument therefore concerns only whether the Department relied on the

   correct appropriation or should have paid certain expenses and salaries for the Special Counsel’s

   Office using a different appropriation. But he cites no case where a defendant was permitted to

   raise that kind of argument in a motion to dismiss an indictment, much less a case where such

   relief was granted. Courts generally adjudicate claims of legal error only when the asserted error

   caused the litigant’s injury, and parties normally cannot invoke legal provisions that are not

   intended to protect their rights and interests. Cf. Clapper v. Amnesty Int'l USA, 568 U.S. 398, 417

   (2013) (“injuries are not fairly traceable” to a statute where parties likely would have engaged in

   the same activity absent that statute). But the indictment here was not caused by the particular

   identity of the appropriation that the Department relied on when funding the Special Counsel’s

   Office. Thus, in criminal cases, under a rule that is often called “standing” as “a useful shorthand,”

   “a person must have a cognizable Fourth Amendment interest in the place searched before seeking

   relief for an unconstitutional search.” Byrd v. United States, 584 U.S. 395, 410 (2018); see Wong

   Sun v. United States, 371 U.S. 471, 492 (1963) (seizure “invaded no right of privacy of person or

   premises which would entitle [defendant] to object”). And, as arises more commonly in civil cases

   under what used to be called “prudential standing,” a claimant’s alleged injury must fall within the

   “zone of interests protected by the law invoked.” Lexmark Int’l, Inc. v. Static Control Components,

   Inc., 572 U.S. 118, 125-32 (2014). But the rules governing where funds come from—as opposed

   to whether funds may be used at all—do not exist for the benefit of individuals who may be

   affected, downstream, by the expenditure of those funds. Cf. Hazardous Waste Treatment Council

   v. Thomas, 885 F.2d 918, 925 (D.C. Cir. 1989) (suggesting that a defense contractor cannot assert



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   a claim based on “an appropriations law in order to challenge the Defense Department’s decision

   to purchase one type of weapon rather than another” because the “defense appropriation is not

   passed in order to benefit defense contractors, benefit them though it may”); Moore v. Navy Pub.

   Works Ctr., 139 F. Supp. 2d 1349, 1355 (N.D. Fla. 2001) (limit on use of appropriated funds

   intended to limit costs, not to protect employees).2

           Trump’s reliance (ECF No. 326 at 12) on United States v. McIntosh, 833 F.3d 1163 (9th

   Cir. 2016), is misplaced. McIntosh concerned a statute that “expressly prohibit[ed] DOJ from

   spending funds” on certain marijuana-related enforcement actions. Id. at 1173-75; see id. at 1177-

   79. Before that statute was passed, the government initiated several prosecutions that arguably fell

   within that category. Id. at 1168-70, 1179. With that bar on government spending in place, several

   defendants moved to dismiss the indictments or to enjoin the ongoing expenditure of funds in

   violation of that spending restriction. Id. at 1168-72. Contrary to Trump’s suggestion, the Ninth

   Circuit took “no view on the precise relief required and le[ft] that issue to the district courts in the

   first instance.” Id. at 1172 n.2; see id. at 1179. No indictments were dismissed based on the

   funding source for the prosecutors. The only issue was whether courts should permit the ongoing

   expenditure of funds in violation of the express prohibition. See id. at 1172-73, 1174-75. Here,

   by contrast, there is no prohibition similar to the one at issue in McIntosh, so the case “does not

   advance” Trump’s claim. See Stone, 394 F. Supp. 3d at 19 n.13.


           2
             Trump seeks to constitutionalize his argument by alleging that the Department violated
   the “Appropriations Clause,” which states that “No Money shall be drawn from the Treasury, but
   in Consequence of Appropriations made by Law.” U.S. Const. art. I, § 9, cl. 7. The label placed
   on his theory has little effect on the available remedy. But his allegation likely could not amount
   to a constitutional violation because he does not dispute that the Department had authority to spend
   funds on the Special Counsel’s investigation, and only disputes whether the Department properly
   relied on the correct appropriation when doing so. See, e.g., OPM v. Richmond, 496 U.S. 414, 424
   (1990) (“the payment of money from the Treasury must be authorized by a statute”) (emphasis
   added).

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          In any event, even if there were any technical error here regarding the funding source,

   Trump suffered no prejudice. See Fed. R. Crim. P. 52(a). As a general matter, “a district court

   may not dismiss an indictment for errors in grand jury proceedings unless such errors prejudiced

   the defendant.” Bank of Nova Scotia v. United States, 487 U.S. 250, 254 (1988). This requirement

   ensures that the substantial “societal costs” that result from dismissing a grand jury’s indictment

   will not be imposed unjustifiably. Id. at 255. The identity of the particular appropriation from

   which the government drew funds does not affect Trump’s “substantial rights,” Fed. R. Crim. P.

   52(a), or otherwise prejudice him. Thus, even if the Department of Justice should have for the first

   time in 40 years funded the Special Counsel from a different appropriation, Trump suffered no

   prejudice and is entitled to no relief because the Department could readily have funded the Special

   Counsel from other appropriations that were available. See 28 C.F.R. § 600.8(a)(1) (“A Special

   Counsel shall be provided all appropriate resources by the Department of Justice.”).

          IV.     Conclusion

          For the foregoing reasons, the Court should deny Trump’s motion to dismiss the

   Superseding Indictment on the ground that the Special Counsel lacks authority or lawful funding

   to prosecute this case.



                                                 Respectfully submitted,

                                                 JACK SMITH
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                                                 N.Y. Bar No. 2678084




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   March 7, 2024




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 7, 2024, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

   Notices of Electronic Filing.

                                               /s/ Jay I. Bratt
                                               Jay I. Bratt




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